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                                                                                                       UNITED STATES DISTRICT COURT
                                                                                                       EASTERN DISTRICT OF MICHIGAN
                                                                                                             SOUTHERN DIVISION

                                                                          BRENDA JOHNSON                                                        Case No.
                                                                                                                                                Hon.

                                                                                          Plaintiff,
                                                                          vs.

                                                                          ALI ABDULLAH ABDI
                                                                          and;
                                                                          NEXT CARGO
                                                                          and/or;
                                                                          XPRESS CARGO INC.
                                                                                         Defendants.
                                                                          ___________________________________/
23880 Woodward Avenue • Pleasant Ridge, Michigan 48069 • (248) 750-0270




                                                                          DANIEL G. ROMANO (P49117)
                                                                          ROMANO LAW, PLLC
                                                                          Attorneys for Plaintiff
                                                                          23880 Woodward Avenue
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                            LAW OFFICES




                                                                          Pleasant Ridge, MI 48069
                                                                          (248) 750-0270
                                                                          __________________________________/

                                                                             There is a resolved civil action arising out of the transaction or occurrence alleged in the
                                                                           complaint. It is assigned to the Honorable David S. Swartz of the Washtenaw County Circuit
                                                                                                       Court under Case Number 17-1125-NF.


                                                                                                 COMPLAINT AND DEMAND FOR JURY TRIAL

                                                                                   NOW COMES Plaintiff, BRENDA JOHNSON, by and through her attorneys, ROMANO

                                                                          LAW, PLLC, and complaining against the above-named Defendants, their agents, servants, and/or

                                                                          employees, either real or ostensible, respectfully represent unto this Honorable Court as follows:

                                                                                                             GENERAL ALLEGATIONS

                                                                          1.       Plaintiff BRENDA JOHNSON (“JOHNSON”) is an individual resident, living in the county

                                                                                   of Jackson, state of Michigan.


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                                                                          2.       At all times pertinent hereto, the Defendant, ALI ABDULLAH ABDI (hereinafter “ABDI”)

                                                                                   is an individual resident, believed to be living in Columbus, Ohio.

                                                                          3.       The Defendant, NEXT CARGO and/or XPRESS CARGO INC. (hereinafter “CARGO”)

                                                                                   is a company believed to be located in the city of Indianapolis, state of Indiana, that

                                                                                   conducts business in the county of Jackson, state of Michigan is otherwise doing business

                                                                                   and/or established in the county of Jackson, state of Michigan

                                                                          4.       On October 4, 2016, Defendant ABDI was a truck driver for Defendant CARGO and was

                                                                                   in the course and scope of his employment thereby making CARGO liable for his negligent

                                                                                   acts and omissions under the doctrine of respondeat superior.
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                                                                          5.       At that time and place, the Defendant, ABDI, owed the Plaintiff, and the public the duty to

                                                                                   obey and drive in conformity with the duties embodied in the Common Law, the Motor
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                                                                                   Vehicle Code of the State of Michigan, as amended, and the ordinances of Blackman

                                                                                   Township.

                                                                          6.       The Defendant, ABDI, did then and there display negligence and misconduct by improper

                                                                                   lane usage, and striking Plaintiff’s motor vehicle.

                                                                          7.       As a direct and proximate result of the motor vehicle accident on October 4, 2016 Plaintiff

                                                                                   suffered numerous severe and permanent injuries and damages and Defendants are liable to

                                                                                   her for their negligence that caused the bodily injuries.

                                                                          8.       Venue is proper under 28 U.S.C. § 1332 because Plaintiff is a citizen of Michigan and all

                                                                                   defendants are citizens of different states.




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                                                                                            COUNT I: BODILY INJURY LIABILITY AGAINST THIRD
                                                                                                        PARTY DEFENDANT ABDI

                                                                          9.       Plaintiff re-alleges and incorporates by reference all preceding paragraph as though more

                                                                                   fully set forth herein.

                                                                          10.      That on or about October 4, 2016, the Plaintiff, JOHNSON, was involved in an auto

                                                                                   accident with another vehicle owned by Defendant CARGO, and operated by Defendant

                                                                                   ABDI, when the other vehicle improperly entered Plaintiffs lane of travel, ultimately

                                                                                   striking her vehicle and she was severely injured; which took place on Interstate 94 and

                                                                                   Airport Rd., county of Jackson and state of Michigan.
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                                                                          11.      That at the aforementioned time and place, the Defendant operator, ABDI and was driving

                                                                                   a white 2015 Ken Semi truck owned by Defendant, CARGO, with the registration No.
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                                                                                   2253296.

                                                                          12.      At that time and place, the Defendant, CARGO, and its agents, servants, and/or employees

                                                                                   including ABDI, owed the Plaintiff, and the public the duty to obey and drive in conformity

                                                                                   with the duties embodied in the Common Law, the Motor Vehicle Code of the State of

                                                                                   Michigan, as amended, and the ordinances of Blackman Township.

                                                                          13.      That Defendant ABDI was driving the vehicle with the express and implied consent and

                                                                                   knowledge of its owner Defendant CARGO, and Defendant ABDI was in the course and

                                                                                   scope of his employment with Defendant CARGO, said corporation being liable under the

                                                                                   Respondeat Superior and the Owners Liability Act when ABDI negligently operated the

                                                                                   defendant CARGO’s vehicle which led to Plaintiff’s injuries.

                                                                          14.      That the Defendant ABDI did then and there display negligence and misconduct by

                                                                                   improper lane use and causing a collision with the Plaintiff JOHNSON’s vehicle.

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                                                                          15.   That at the said time and place, Defendant ABDI was guilty of negligence and misconduct

                                                                                as follows:

                                                                                   a. In driving at an excessive rate of speed, under the conditions then and there existing;

                                                                                   b. In failing to yield the right of way;

                                                                                   c. In driving in such a manner as to be unable to stop within the assured clear distance

                                                                                       ahead;

                                                                                   d. In failing to keep a reasonable lookout for other persons and vehicles using said

                                                                                       highway;

                                                                                   e. In failing to have the vehicle equipped with proper brakes and/or failing to apply
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                                                                                       said brakes in time;

                                                                                   f. In failing to drive with due care and caution;
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                                                                                   g. In failing to take all possible precautions to avoid any collision with other motor

                                                                                       vehicles; and

                                                                                   h. In failing to make and/or renew observations of the conditions of traffic on the

                                                                                       highway.

                                                                          16.   The Defendant ABDI was further negligent in failing to obey and drive in conformity with

                                                                                the Common Law and the Motor Vehicle Code of the state of Michigan as amended and

                                                                                ordinances of Blackman Township.

                                                                          17.   That among those Statutes Defendant ABDI violated include, but are not limited to the

                                                                                following:

                                                                                                  a) M.C.L. 257.401           Owner liability;

                                                                                                  b) M.C.L. 257.402           Vehicle struck from rear;

                                                                                                  c) M.C.L. 257.626           Reckless driving;
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                                                                                                   d) M.C.L. 257.626(b)        Careless or negligent driving;

                                                                                                   e) M.C.L. 257.627           General restrictions as to speed - assured
                                                                                                                               clear distance ahead;

                                                                                                   f) M.C.L. 257.628           Failure to observe a speed limit or traffic
                                                                                                                               control sign or signal;

                                                                                                   g) M.C.L. 257.637           Passing on right side of vehicle;

                                                                                                   h) M.C.L. 257.643           Following too closely;

                                                                                                   i) M.C.L. 257.705           Brakes;

                                                                          18.   That as a proximate cause of Defendants' negligence, Plaintiff JOHNSON was seriously

                                                                                injured and suffered a serious impairment of body function and/or permanent serious
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                                                                                disfigurement as follows: head injury, plus other injuries to the back, shoulders, right thigh,

                                                                                right hip, hands, neck and to other parts of her body, externally and internally, and some
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                                                                                or all of which interferes with her enjoyment of life and caused the Plaintiff JOHNSON

                                                                                great pain and suffering.

                                                                          19.   That as a proximate result of said injuries, the Plaintiff JOHNSON suffered traumatic shock

                                                                                and injury to the nervous system, causing severe mental and emotional anguish, which

                                                                                interferes with his enjoyment of life and may require psychiatric treatment, and more

                                                                                generally became sick and disabled, and some or all of said injuries, as set forth herein,

                                                                                may be permanent in nature.

                                                                          20.   That should it be determined at the time of trial that the said Plaintiff JOHNSON was

                                                                                suffering from any pre-existing conditions, at the time of the aforesaid collision, then and

                                                                                in such event, it is averred that the negligence of Defendants precipitated, exacerbated and

                                                                                aggravated any such pre-existing conditions.



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                                                                          21.     That the Plaintiff JOHNSON has had to incur expenses for hospital, doctor, domestic and

                                                                                  other miscellaneous expenses and will incur more such expenses in the future and has

                                                                                  suffered a loss of income, past, present and future, as a proximate result of Defendants’

                                                                                  negligence.

                                                                          WHEREFORE, the Plaintiff, JOHNSON now claims judgment for whatever amount she is found

                                                                          to be entitled, plus court costs, attorney fees and interest from the date of filing this Complaint.


                                                                                                COUNT II: RESPONDEAT SUPERIOR LIABILITY
                                                                                                 AGAINST THIRD PARTY DEFENDANT CARGO

                                                                          22.     Plaintiffs re-allege and incorporate by reference all preceding paragraphs as though more
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                                                                                  fully set forth herein.

                                                                          23.     That CARGO employed or constructively employed ABDI on October 4, 2016.
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                                                                          24.     That ABDI was in the course and scope of his employment or authority on October 4, 2016.

                                                                          24.     That during the course and scope of his employment or authority ABDI operated the motor

                                                                                  vehicle in a negligent manner by improper lane use and causing a collision with another

                                                                                  motor vehicle, causing the vehicle to spin and strike a median wall and Plaintiff was

                                                                                  severely injured.

                                                                          25.     As a direct and proximate result of the negligence of Defendant and the resulting injuries

                                                                                  to Plaintiff, the Plaintiff sustained a serious impairment of a bodily function as an

                                                                                  objectively manifested impairment of an important body function that affects the Plaintiffs

                                                                                  general ability to lead a normal life.




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                                                                          WHEREFORE, Plaintiff asks for damages in her favor and against the Defendant in whatever

                                                                          amount Plaintiff is found to be entitled, together with interest, costs, and attorney's fees.


                                                                                                                                   Respectfully submitted,

                                                                                                                                   ROMANO LAW, PLLC

                                                                                                                              By: /s/Daniel G. Romano
                                                                                                                                  ROMANO LAW PLLC
                                                                                                                                  DANIEL G. ROMANO (P49117)
                                                                                                                                  Attorneys for Plaintiff
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                                                                                                     UNITED STATES DISTRICT COURT
                                                                                                     EASTERN DISTRICT OF MICHIGAN
                                                                                                           SOUTHERN DIVISION

                                                                          BRENDA JOHNSON                                                      Case No.
                                                                                                                                              Hon.

                                                                                        Plaintiff,
                                                                          vs.

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                                                                          ___________________________________/
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                                                                          __________________________________/


                                                                                                             DEMAND FOR JURY

                                                                                 NOW COMES Plaintiff, BRENDA JOHNSON, by and through her attorneys, ROMANO

                                                                          LAW, PLLC and hereby demands a trial by jury of the within cause.

                                                                                                                             Respectfully submitted,

                                                                                                                             ROMANO LAW, PLLC

                                                                                                                        By: /s/Daniel G. Romano
                                                                                                                            ROMANO LAW PLLC
                                                                                                                            DANIEL G. ROMANO (P49117)
                                                                                                                            Attorneys for Plaintiff
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                                                                          March 01, 2019

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